                   Case 2:20-mj-30425-DUTY ECF No. 1, PageID.1 Filed 10/13/20 Page 1 of 7
                                                                                    AUSA:        Frances L. Carlson                   Telephone:       (313) 226-9696
AO 91 (Rev. 11111) Criminal       Complaint                        Special Agent:               Sean Nicol, FBI                       Telephone:       (734) 995-1310


                                                  UNITED STATES DISTRICT COURT
                                                                                     for the

                                                                  Eastern District of Michigan

United       States   of America
        v.
Lee James         Mouat
                                                                                                  Case No.         Case: 2:20−mj−30425
                                                                                                                   Assigned To : Unassigned
                                                                                                                   Assign. Date : 10/13/2020
                                                                                                                   Description: CMP USA V MOUAT
                                                                                                                   (LH)


                                                                      CRIMINAL COMPLAINT

              I, the complainant           in this case, state that the following           is true to the best of my knowledge              and belief.


             On or about       the date(s)         of                     June 6, 2020                     in the county   of                ...:.M.:..:.::,;on:..:.;rc...:;o.,;;.e
                                                                                                                                                                          in the

__       --=E""as""te,;;.;m..;.;;....
                     __         District     of            Michigan             , the defendant(s)     violated:

                        Code Section                                                              Offense Description
18 USC Section 249(a)( I)                                                  Willfully caused bodily injury to D.F., who is African American,                    because
                                                                           of D.F.'s actual and perceived race and color.




             This criminal       complaint          is based   on these    facts:
                       See attached Affidavit




o       Continued       on the attached           sheet.



                                                                                                      Sean Nicol, Special Agent, FBI - Ann Arbor
                                                                                                                   Printed name and title
Sworn to before me and signed in my presence
and/or by reliable electronic means.


Date:        October 13, 2020               _                                                                         Judge     's   signature

City and state:       Ann Arbor, Michigan                                       _              David R. Grand, U.S. Magistrate Judge
                                                                                                                   Printed name and title
  Case 2:20-mj-30425-DUTY ECF No. 1, PageID.2 Filed 10/13/20 Page 2 of 7




     AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
     I, Sean D. Nicol, being duly sworn, depose and state as follows:

                          I.   INTRODUCTION

      1.   I have been a Special Agent with the FBI since 1995, and am

assigned to the Detroit Division in Ann Arbor. I have investigated a

wide variety of federal criminal violations, and I have been the primary

Civil Rights investigator for the Ann Arbor FBI Office since 2016, which

has allowed me to investigate numerous issues involving hate crimes,

including violations of 18 U.S.C. § 249 (Hate Crimes Prevention Act of

2009).

     2.    The facts and statements in this affidavit include

information developed by the FBI and information provided by other

law enforcement officers. I submit this affidavit for the limited purpose

of securing a criminal complaint. I have set forth only the facts that I

believe are necessary to establish probable cause and have not included

every fact known to me concerning this investigation.

     3.    Probable cause exists that, on June 6, 2020, in the Eastern

District of Michigan, Lee James MOUAT willfully caused bodily injury




                                    1
  Case 2:20-mj-30425-DUTY ECF No. 1, PageID.3 Filed 10/13/20 Page 3 of 7




to victim D.F., who is African American, because of the actual or

perceived race and color of D.F., in violation of 18 U.S.C. § 249(a)(I).

       II.   FACTS AND CIRCUMSTANCES ESTABLISHING,
                        PROBABLE CAUSE

      4.     I interviewed D.F., an African-American teenager. D.F.

described being attacked by MOUAT on June 6, 2020. D.F. explained

that he was in the parking of lot of Sterling State Park when MOUAT-

a white man D.F. had never met before-yelled,      "Niggers don't belong

on this beach." While D.F. retrieved a portable speaker from a vehicle,

MOAUT yelled racial slurs at D.F.'s two friends, who were also African-

American teenagers. As D.F. walked over to his friends with the

portable speaker, he noticed MOAUT walking quickly towards him.

MOUAT swung an object, which struck D.F. in the face.

      5.     Monroe County Sheriffs Office (MCSO) Deputies arrived

within several minutes of the attack. Victim D.F. was taken to a local

Emergency Room and thereafter to Detroit Receiving Hospital, where

he was treated for a facial fracture, facial lacerations, and the loss of

several teeth.

      6.     MCSO Deputies prepared reports of their investigation,

which included statements from various individuals who witnessed
                                     2
  Case 2:20-mj-30425-DUTY ECF No. 1, PageID.4 Filed 10/13/20 Page 4 of 7




MOUAT's statements and actions leading up to and during the attack. I

obtained these records.

     7.    Witness 1 (W-1), whom I have interviewed, observed

MOUAT immediately before the attack. W-1 noticed a white male, later

identified as MOUAT, walking with his family towards the Sterling

State Park parking lot. MOUAT was making loud comments about

some music being played, saying "these niggers are playing gang

music," and "I want to hit them with this cooler." W-1 recalled hearing

MOUAT say "niggers" and "monsters," and "I wish someone would say

something to me so I can beat them." Several minutes later, W-1 heard

a commotion in the parking lot.

     8.    Witness 2 (W-2) observed MOUAT before and during the

attack. Before walking to the parking lot, MOUAT, who was known to

W-2, was getting angry at a group of young Mrican-American males.

MOUAT made a comment to the effect of, "I'll bash their heads in if

they don't turn [their music] down." W-2 heard MOUAT yell racial slurs

at the group of Mrican-American males. Later, when walking to the
                                                                   .'


parking lot, MOUAT repeatedly yelled "niggers" at the same group of

Mrican-American males, who were also walking to the parking lot.


                                   3
  Case 2:20-mj-30425-DUTY ECF No. 1, PageID.5 Filed 10/13/20 Page 5 of 7




Once in the parking lot, MOUAT continued to call the teenagers

"niggers." The group of young men began yelling back at MOUAT.

MOUAT approached them, and Mouat and the young men began yelling

at each other. MOUAT walked to his vehicle and retrieved a chain

bike-lock, returned to the group of young men, and struck one of them

in the jaw with the bike-lock. W-2 observed the young man fall to the

ground.

      9.    Witness 3 (W-3), whom I have interviewed, observed

MOUAT immediately before and during the attack. W-3, who was in

his/her vehicle in the parking lot of the Sterling State Park, noticed a

white male, later identified as MOUAT, walking through the parking

lot with his family and having a loud argument with a group of Mrican-

American teens. W-3 heard MOUAT yell, "Black lives don't matter" at

the teens. MOUAT walked to a nearby minivan, saying, "I'll show you!"

MOUAT grabbed a chain-like object from the minivan and walked back

toward the young men. MOUAT then swung the chain-like object at one

of the teens.

      10.   Witness 4 (W-4), whom I have interviewed, observed

MOUAT before and during the attack. W-4 was at the park with victim


                                    4
  Case 2:20-mj-30425-DUTY ECF No. 1, PageID.6 Filed 10/13/20 Page 6 of 7




D.F. on June 6, 2020. W-4, victim D.F., and another friend were

walking to the parking lot of Sterling State Park when W-4 heard

someone yell, "This is my beach, nigger!" W-4 saw that it was a white

man, later identified as MOUAT, who was yelling. W-4 yelled back,

"What?" MOUAT looked directly at the young men, and again yelled,

"This is my beach, nigger!" as he approached them. Given MOUAT's

posture and attitude, W-4 was anticipating a fight, so when MOUAT

confronted them, W-4 said "We'll kick your ass." MOUAT said, "There

are three of you ... that's not fair." W-4 stepped ahead of his friends and

said, "I'll kick your ass alone." MOUAT walked away, commenting, "I've

got something for you in my car." W-4 assumed MOUAT was leaving

with his family, but then W-4 heard MOUAT yell, 'Hey!" as MOUAT

returned with a chain-like object in one hand. MOUAT swung the chain

at victim D.F., striking him in the face and sending him staggering into

their friend. MOUAT then swung the chain at W-4, but missed. Police

arrived on the scene, stopping the encounter.

                          III.   CONCLUSION

     11.   Based on the aforementioned information, I respectfully

submit that there is probable cause to believe that, on June 6, 2020, Lee


                                     5
  Case 2:20-mj-30425-DUTY ECF No. 1, PageID.7 Filed 10/13/20 Page 7 of 7




James MOUAT willfully caused bodily injury to victim D.F., who is

Mrican American, because of the actual or perceived race and color of

victim D.F., in violation of 18 U.S.C. § 249(a)(I).




Sworn to before me and signed in my
presence and/or by reliable electronic means.




David R. Grand
United States Magistrate Judge

         October 13, 2020
Dated: --------------




                                     6
